

ORDER

PER CURIAM:
AND NOW, this 9th day of January, 2001, an Order and Rule to Show Cause having been entered by this Court on December 11, 2000, and no response to the Rule to Show Cause having been filed, it is ORDERED that:
1. The Rule is made absolute and respondent is placed on temporary suspension until further definitive action by this Court;
2. Respondent shall comply with the provisions of Rule 217, Pa.R.D.E.;
3. The President Judge of the Court of Common Pleas of Montgomery County, in accordance with Rule 217(g), Pa.R.D.E., take such further action and make such further orders as may appear necessary to protect the rights and interests of respondent’s clients; and
4. All financial institutions in Pennsylvania in which respondent holds accounts containing fiduciary funds shall freeze such accounts pending further order of this Court.
This Order constitutes an imposition of public discipline within the meaning of Rule 402, Pa.R.D.E., pertaining to confidentiality.
